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                                                       U .S . DISTRICT COURTGeorgia
                            UNITED STATES DISTRICT COURT t"Ri DE31rict  of
                                                                 ed in Office
                                SOUTHERN DISTRICT OF GEORGIA I,, ,



     UNITED STATES OF AMERIC A

                                                     CASE NUMBER : CR 203-37
it

     MICHAEL SHAE HARVEY,
           Defendant


                                                ORDER



            The defendant, Michael Shae Harvey's, Motion for Early Termination of Supervised Release

     having been read and considered ;



            IT IS HEREBY ORDERED that the defendant, Michael Shae Harvey, is hereb y

     discharged from supervised release and that the proceedings in the case be terminated .



            This    I A day of           ,Y       , 2006 .




                                                  Honorable A 1bony A. Alaimo
                                                  Judge, United States District Court
                                                  Southern District of Georgia
